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                                                                                               United States Bankruptcy Court
                                                                                                   Southern District of Texas

                                                                                                      ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                         March 21, 2025
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                        Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

IN RE:                                                  §
                                                        §        CASE NO: 23-645
Professional Fee Matters Concerning the                 §
Jackson Walker Law Firm                                 §

                                                   ORDER
                                           Resolving ECF No. 617

       Pending before the Court is a single matter self-styled as “Jackson Walker LLP’s
Emergency Motion Requesting Clarification of Case Management Order and Matters Referred to
Miscellaneous Proceeding”1 filed by Jackson Walker, LLP on March 18, 2025. Jackson Walker,
LLP. poses two questions as follows:
    a) “…[W]hether the issue of vacatur of both Jackson Walker’s employment and fee orders
       are before Chief Judge Rodriguez in the Miscellaneous Proceeding or whether it is only
       the issue of vacatur of Jackson Walker’s final fee orders that is before Chief Judge
       Rodriguez as the second and third Case Management Orders state;”2 and

    b) “[W]hether the judges presiding over the closed Affected Cases3 intend for those cases to
       remain closed but nonetheless be included as part of the trial (whether on vacatur of only
       the final fee orders or also the employment orders) to be held before Chief Judge
       Rodriguez.” 4
The Court appreciates the inquiry and without the need of a hearing, the Court issues the instant
order. It is therefore:
ORDERED: that
    1. The trial in Professional Fee Matters Concerning the Jackson Walker Law Firm,
       (“Miscellaneous Proceeding”) Case No. 23-645 scheduled to commence on May 12, 2025,
       before this Court will concern whether the final orders allowing compensation and
       reimbursement of expenses for Jackson Walker LLP should be vacated in each of the cases
       cited in the instant Miscellaneous Proceeding.5 All other matters will remain with the respective
       presiding judges.


1
  ECF No. 617.
2
  ECF No. 617 at 6.
3
  The closed cases include: In re Seadrill Member LLC, Case No. 22-90002; In re Exco Resources Inc., Case No. 18-
30155; In re Westmoreland Coal Company, Case No. 18-35672; In re Jones Energy Inc., Case No. 19-32112; In re
McDermott International Inc., Case No. 20-30336; In re Volusion, LLC, Case No. 20-50082; In re Denbury Resources
Inc, Case No. 20-33801; In re iQor Holdings Inc., Case No. 20-34500; In re Covia Finance Company LLC, Case No.
20-33302; and In re TMW Merchants LLC, Case No: 20-33916 .
4
  ECF No. 617 at 6.
5
  See ECF Nos. 398, 402, 429, 430, 465.
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      2. As for the Affected Closed Cases, the applicable Third Case Management orders provide
         that:

                   Chief Judge Rodriguez has commenced and will preside over
                   Miscellaneous Proceeding No. 23-00645, In re Professional Fee
                   Matters Concerning the Jackson Walker Law Firm. All future
                   documents and pleadings concerning discovery, [p]retrial matters and
                   whether the Final Order Allowing Compensation and Reimbursement
                   of Expenses for Jackson Walker LLP should be vacated regarding the
                   Motion to Withdraw the Reference and the Motion for Relief from
                   Final Judgment must be filed in Miscellaneous Proceeding 23-
                   00645.6

          Accordingly, the Affected Closed Cases remain closed but are nonetheless included as part
          of the trial.7

      3. No later than Tuesday, March 25, 2025, Jackson Walker, LLP must serve a copy of this
         Order on The United States Trustee and all parties entitled to notice and file a certificate of
         service with the Clerk of Court.

      4. This Court retains exclusive jurisdiction with respect to all matters arising from or related
         to the implementation, interpretation, or enforcement of this Order.



            SIGNED March 21, 2025


                                                           ________________________________
                                                                   Eduardo V. Rodriguez
                                                            Chief United States Bankruptcy Judge




6
    See ECF Nos. 429, 465.
7
    Id.
